    Case 21-30589-MBK           Doc 1498       Filed 02/16/22 Entered 02/16/22 14:27:35             Desc Main
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)

     PACHULSKI STANG ZIEHL & JONES LLP                                     Order Filed on February 16, 2022
     Laura Davis Jones                                                     by Clerk
     Karen B. Dine                                                         U.S. Bankruptcy Court
                                                                           District of New Jersey
     Colin R. Robinson
     Peter J. Keane
     919 N. Market Street, 17th Floor
     Wilmington, DE 19801
     Telephone: (302) 652-4100
     Facsimile: (302) 652-4400
     Email: ljones@pszjlaw.com
      kdine@pszjlaw.com
        bi     @ jl                                            Case No.:          21-30589 (MBK)
                                                                               ____________________
    In Re:
     LTL MANAGEMENT LLC,                                       Chapter:                 11
                                                                               ____________________

                                                               Judge:             Michael B. Kaplan
                                                                                ____________________
     Debtor.

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                      ORDER CONCERNING REQUEST TO SEAL DOCUMENTS
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     The relief set forth on the following page is ORDERED.




DATED: February 16, 2022
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                                            Document      Page 2 of 2


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                           Arnold & Itkin LLP
     On request of __________________________________ , to seal the following document(s),
     Reply in Support of Motion to Dismiss Bankruptcy Case and the related Declaration of
     Laura Davis Jones for the Reply in Support of Motion to Dismiss Bankruptcy Case




     and the court having considered the request and any objection there to, it is


         ‫ ܆‬ORDERED that the request is denied and the underlying document(s) shall be deleted from the
             court’s electronic filing system.


         ‫ ܆‬ORDERED that the request is granted and the document(s) shall be sealed until the expiration of
             the judiciary records retention period at which time the document will be permanently deleted.
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